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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

UNITED STATES OF AMERICA,

v.                                                    Criminal Case No. 1: 18-CR-457 (AJT)

BIJAN RAFIEKIAN, et al.

                                              ORDER

       Upon consideration of Defendant Raftekian's Motion for Leave to file Sur-reply to

Government's Supplemental Response to Defendant's Motion in limine to Exclude Out-of-Court

Statements by Co-conspirators, any opposition thereto, any reply in further support thereof, and

the entire record herein, for good cause shown, it is this gr:J'...day o[   ��   ,   2019, hereby

       ORDERED that the Motion is GRANTED; and it is further

       ORDERED that the Court will accept and consider Defendant's sur-reply.

       SO ORDERED.
